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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

IN RE APPLICATION oF THE
UNITED sTATEs oF AMERICA FoR
AN oRDER PURSUANT To

18 U.s.c. § 3512

Case: 1:18-m|-00626
Ass_igned To : Meriweather, Robin M.
Asslgn. Date : 9/4/2018

Description: Misc. (UNSEALED)

Request from Germany for Assistance in a
Criminal Matter: Bank and Business Records

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DOJ Reference Number: CRM-182-62730

APPLICATION OF THE UNITED STATES
FOR AN ORDER PURSUANT TO 18 U.S.C. 5 3512

 

The United States of America, moving by and through its undersigned counsel,
respectfully submits this §§ @_§ application for an Order, pursuant to 18 U.S.C. § 3512,
appointing the undersigned attorney, Erica O’Brien Waymack, Trial Attorney, Oft`lce of
lnternational Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor
subsequently designated by the Office of lnternational Affairs), as a commissioner to collect
evidence from Witnesses and to take such other action as is necessary to execute a request for
assistance in a criminal matter from Germany. ln support of this application, the United States
asserts:

RELEVANT FACTS

l. On February 20, 2018, the German F ederal Off`ice of Justice submitted a request
for assistance (hereinafter, the “Request”) to the United States, pursuant to the Treaty Between
the United States of America and the Federal Republic of Germany on Mutual Legal Assistance
in Criminal l\/latters, U.S.~F.R.G., Oct. 14, 2003, S. TREATY DOC. NO. 108-27 (20()4), as

supplemented by the Supplementary Treaty to the Treaty Between the United States of America

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and the Federal Republic of Germany on Mutual Legal Assistance in Criminal Matters, U.S.-
F.R.G., April 18, 2006, S. TREATY DOC. NO. 109-13 (2006) (hereinafter, the “Treaty”). As
stated in the Request, the Hildesheim Public Prosecution Office is investigating fraud offenses,
which occurred between on or about June l, 2009, and December 7, 2012, in violation of the
criminal law of Germany, specifically, Section 263 of the German Criminal Code. A copy of the
applicable law is included as Attachment A to this application Under the Treaty, the United
States is obligated to render assistance in response to the Request.

2. According to German authorities, beginning in approximately June of 2009,
Reinhardt Birkner (hereinafter, “Birkner”) and Klaus-Dieter Anton (hereinafter, “Anton”)
solicited individuals to invest in a company known as “HBW Finanz AG” (hereinafter, “HBW”).
Birkner and Anton allegedly informed the investors that the term of investment was one year,
and that the investors would be paid a return of 8.5% plus an unspecified bonus. The investors
deposited their payment into a Deutsche Bank account managed by an HBW attorney.
Following the conclusion of the one-year term, the investors received a letter from HBW
indicating that their funds would be imminently disbursed, but no actual disbursement followed.

3. Following the filing of a criminal complaint and the initiation of a formal
investigation, German authorities ascertained, through an analysis of HBW’s Deutsche Banl<
accounts, that HBW conducted no legitimate business or investment and that the funds deposited
into the account by the investors were spent on personal expenses or transferred to American and
Swiss bank accounts Between June l, 2009 and December 7, 2012, approximately €1,256,512
(equivalent to approximately $1,470,000 USD) was deposited into HBW’s account by
approximately 54 investors who never received any payment from HBW.

4. An analysis of HBW’s Deutsche Bank account records revealed that

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approximately €552,293.49 (equivalent to approximately $646,000 USD) was transferred from
the Deutsche Bank a company referred to as “US Corporation Services,” with account number
XXXXXX9920 at Wells Fargo, N.A, in the United States. Approximately €65,960.50
(equivalent to approximately $77,()00 USD) was later transferred from US Corporation Services
back to the Deutsche Bank account. Records analysis further revealed that “Star Gate Capital
Corp.,” a company registered in California, was listed as the beneficiary of the Deutsche Bank
account, with Bengt. l. Stenbock as its registered agent.

5. During the course of the investigation, German authorities also ascertained that
Anton allegedly serves as vice president of a company referred to as “Euro-American Investment
Group,” registered in Oregon. The named president of Euro-American Investment Group is co-
conspirator Thomas Beermann-Wiegmann (hereinafter, “Beennann-Wiegmann”). Anton is also
listed as the president of a company referred to as “First Bancorp of Commerce, Inc.,” registered
in Arkansas. During a search of Beermann-Wiegmann’s residence, German authorities
recovered a financial document showing a payment of €4,5()0 with a reference to “First
Bancorp.”

6. To further the investigation, German authorities have asked U.S. authorities to
provide ( l) records pertaining to account number XXXXXX9920 at Wells Fargo, N.A, and (2)
business records related to US Corporation Services, Star Gate Capital Corp., Euro-American

lnvestment Group, and First Bancorp ofCommerce, Inc.

LEGAL BACKGROUND

The Treaty

7. A treaty constitutes the law of the land. U.S. Const. art. Vl, cl.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. _S_e_e_ Asakura

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v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. the Peggv, 5 U.S. 103 (1801);

United States v. Emuggbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

 

should be construed liberally “to give effect to the purpose which animates it.” United States v.
§_t_ua~rt, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the
provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes
the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

8. The United States and Germany entered into the Treaty to “provide . . . more
effective cooperation between the two States in the repression of crime[.]” Treaty pmbl. The
Treaty obligates each state, upon request, to provide assistance to the other in criminal
investigations and proceedings, including assistance in serving documents, obtaining testimony,
statements, and records, and executing searches and seizures Article 1. ln addition, the Treaty,
like 18 U.S.C. § 3512, authorizes federal courts to use compulsory measures to further the
execution ofsuch requests. Article 19(3) (“The courts . . . shall have . . . authority to issue such
orders . . . as are necessary to execute the request."').

18 U.S.C. § 3512

9. When executing a treaty or non-treaty request for assistance from a foreign
authority, an attorney for the government may file an application to obtain any requisite court
orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and
provides in pertinent part:

Upon application, duly authorized by an appropriate official of the Department of

Justice, of an Attorney for the Government, a Federal judge may issue such orders

as may be necessary to execute a request from a foreign authority for assistance in

the investigation or prosecution of criminal offenses, or in proceedings related to

the prosecution of criminal offenses, including proceedings regarding forfeiturc,
sentencing, and restitution

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[A]n application for execution of a request from a foreign authority under this
section may be filed . . . in the District of Columbia.

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The term “foreign authority” means a foreign judicial authority, a foreign

authority responsible for the investigation or prosecution of criminal offenses or

for proceedings related to the prosecution of criminal offenses, or an authority

designated as a competent authority or central authority for the purpose of making

requests for assistance pursuant to an agreement or treaty with the United States
regarding assistance in criminal matters
18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

10. Congress enacted this section to make it “easier for the United States to respond
to [foreign] requests by allowing them to be centralized and by putting the process for handling
them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.
Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.
2086.l This section provides clear authority for the federal courts, upon application duly
authorized by an appropriate official of the Department of Justice, to issue orders which are
necessary to execute a foreign request.

11. An application is duly authorized by an appropriate official of the Department of
Justice when the Office of lnternational Affairs, Criminal Division, U.S. Department of Justice,

has reviewed and authorized the request, and executes the request itself or delegates execution to

another attorney for the government2 Upon such a duly authorized application, Section 3512

 

l Prior to the enactment of 18 U.S.C. § 35127 the United States routinely utilized the procedures authorized
by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign authorities E Inr_e
Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. § 3512 provides a more
streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests were previously
executed); ge alj Intel Corp_.v. Advanced Micro Devices. lnc., 542 U.S. 241, 247-49 (2004) (describing
history of Section 1782). When enacting Section 3512, Congress anticipated that improved U.S. handling
of foreign requests would ensure reciprocity in response to U.S. requests for assistance in its criminal
investigations _S_e_e, e_.g., 155 Cong. Rec. 10,()93 (2009) (statement of Rep. Schiff).

 

2 The Attorney General, through regulations and Department of Justice directives, has delegated to the

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authorizes a federal judge3 to issue “such orders as may be necessary to execute [the] request,”
including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for electronic records under
18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices under 18 U.S.C. § 3123;
and (4) orders appointing a person to direct the taking of testimony or statements and/or the
production of documents or other things §e_e 18 U.S.C. § 3512(a)(1)-(b)(1). In addition, a
federal judge may prescribe any necessary procedures to facilitate the execution of the request,
including any procedures requested by the foreign authority to facilitate its use of the evidence.

§§ ln re Letter of Request from the Crown Prosecution Service of the United Kingdom, 870

 

F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing procedures to be followed in

executing foreign request under 28 U.S.C. § 1782); c_f. White v. National Football League, 41

 

F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary to facilitate disposition of
matter before it); Fed. R. Crim. P. 57(b).

12. Section 3512 also authorizes any person appointed to direct the taking of
testimony or statements and/or the production of documents or other things to: (1) issue an order
requiring a person to appear and/or produce documents or other things; (2) administer any
necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other
things 18 U.S.C. § 3512(b)(2). ln ordering a person to appear and/or produce documents or
other things, the person appointed, commonly referred to as the “commissioner,” typically uses a
subpoena entitled “Commissioner Subpoena.” Any such subpoena or any other order, subject to

subsection d, may be served or executed anywhere in the United States 18 U.S.C. § 3512(f). A

 

Office of Intemational Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters §e_e 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and 81B.

3 The term “federaljudge” includes a magistratejudge. D 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
l(b)(3)(B) (including magistratejudge in the definition of federal judge).

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copy of a “Commissioner Subpoena” is included as Attachment B.
REQUEST FOR ORDER

13. The Office of lnternational Affairs has reviewed and authorized the Request, and
is executing the Request itself. Consequently, this application for an Order appointing the
undersigned attorney as a commissioner to collect evidence from witnesses and to take such
other action as is necessary to execute the Request has been “duly authorized” within the
meaning of Section 3512. ln addition, the Request was submitted by an appropriate “foreign
authority,” L, the German Federal Office of Justice, the Central Authority in Germany for
requests made pursuant to the Treaty, and seeks assistance in the investigation of fraud, a
criminal offense in Germany. Furthermore, the requested Order is necessary to execute the

Request, and the assistance requested, i.e., bank and business records, falls squarely within that

 

contemplated by both the Treaty and Section 3512. Finally, this application was properly filed in
the District of Columbia.

14. This application is being made § p_art_e, consistent with the United States’
practice in its domestic criminal matters Both Section 3512 and the Trcaty authorize the use of
compulsory process in the execution of treaty requests comparable or similar to that used in
domestic criminal investigations or prosecutions Because subpoenas utilized in U.S. criminal
proceedings (i._e;, grand jury and criminal trial subpoenas) are issued without notice to any
person other than the recipient (i.i, no notice to targets or defendants), orders and commissioner
subpoenas issued in execution of a treaty request pursuant to Section 3512 and the applicable
treaty likewise should require no notice other than to the recipients This is true even if the
Requesting State, as here, seeks financial records, because the Right to Financial Privacy Act, 12

U.S.C. §§ 3401 et seq., including its notice provisions does not apply to the execution of foreign

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requests for legal assistance Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989),
cert. denied, 493 U.S. 1072 (1990); In re Letters of Reguest from the Supreme Court of Hong
Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); ln re Letter of Request for Judicial Assistance

from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla.

 

1987). Accordingly, this Court should authorize a commissioner to collect the evidence
requested without notice to any person other than the recipient(s) of the commissioner
subpoena(s).

15. Therefore, the United States respectfully requests that this Court issue the
attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Erica
()’Brien Waymack, Trial Attorney, Office of International Affairs (or a substitute or successor
subsequently designated by the ()ffice of International Af`fairs) as a commissioner and
authorizing the undersigned to take the actions necessary, including the issuance of a
commissioner subpoena(s), to obtain the evidence requested in a form consistent with the
intended use thereof

Respectfully submitted,

VAUGHN A. ARY

DIRECTOR

OFFICE OF INTERNATIONAL AFFAIRS
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By: L/¥_

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